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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:21−cr−00698
                                                       Honorable Robert W. Gettleman
Ronald T. Molo
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 29, 2021:


         MINUTE entry before the Honorable Sunil R. Harjani: Arraignment set for
12/2/2021 at 2:00 p.m. by telephone. Members of the public and media will be able to call
in to listen to this hearing but will be placed on mute. The call−in number is (888)
684−8852 and the access code is 7354516. Persons granted remote access to proceedings
are reminded of the general prohibition against photographing, recording, and
rebroadcasting of court proceedings. Mailed notice (lxs, )




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